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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

           ARTIS LISBON,                              :    MOTION TO VACATE
              Movant,                                 :    28 U.S.C. § 2255
                                                      :
                 v.                                   :    CRIMINAL INDICTMENT NO.
                                                      :    1:10-CR-0251-TWT-AJB-10
           UNITED STATES OF AMERICA,                  :
               Respondent.                            :    CIVIL FILE NO.
                                                      :    1:15-CV-3535-TWT-AJB

                             UNITED STATES MAGISTRATE JUDGE’S
                            FINAL REPORT AND RECOMMENDATION

                 Movant, Artis Lisbon, has filed a counseled 28 U.S.C. § 2255 motion to vacate,

           set aside, or correct his federal sentence entered in this Court under the above criminal

           docket number. The matter is before the Court on the motion to vacate, as amended,

           [Docs. 650, 651], Respondent’s response, [Doc. 655], and Movant’s reply, [Doc. 661].

           For reasons discussed below, Movant’s motion to vacate is due to be denied in part and

           dismissed in part and a certificate of appealability (COA) is due to be denied.

           I.    Background

                 In 2009 the Drug Enforcement Administration began investigating a
                 Mexican drug trafficking organization that moved cocaine and heroin into
                 Atlanta, distributed it to street-level dealers, and then smuggled the cash
                 into Mexico. The investigators used wiretaps, video surveillance, and
                 other investigative techniques to identify the organization’s members,
                 including Catarino Moreno and [Movant]. The two played different roles
                 in the organization.[] . . . [Movant] was part of the organization’s


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                 distribution chain, paying for cocaine and heroin delivered by his
                 coconspirators and moving the drugs down the line to lower-level
                 distributors.

                 In 2010 a federal grand jury indicted eleven members of the organization,
                 charging them with different conspiracy, drug, and money laundering
                 offenses.

           United States v. Moreno, 559 Fed. Appx. 940, 941-42 (11th Cir. Mar. 27, 2014), cert.

           denied, _ U.S. _, 135 S. Ct. 295 (2014) (footnote omitted). The grand jury indicted

           Movant on the following charges:

                 (1) conspiracy to distribute drugs, in violation of 21 U.S.C.
                 §§ 841(b)(1)(A)(i) and 846; (2) possession with intent to distribute at least
                 one kilogram of heroin on or about August 17, 2009, in violation of
                 21 U.S.C. § 841(a)(1), (b)(1)(A)(i), and 18 U.S.C. § 2; and (3) possession
                 with intent to distribute at least five kilograms of cocaine on or about
                 May 21, 2010, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(A)(i), and
                 18 U.S.C. § 2.

           Moreno, 559 Fed. Appx. at 942. Movant pleaded not guilty and proceeded to trial,

           represented by Craig A. Gillen. (Trial Tr., Vol. I, ECF No. 517.)

                 The jury found Movant guilty on all charges (with the heroin possession being

           for less than one kilogram). (Special Verdict, ECF No. 501.) The Court imposed a

           240-month term of imprisonment. (Corrected J., ECF No. 554.) Movant appealed and

           the Eleventh Circuit Court of Appeals affirmed the judgment against him. Moreno,

           559 Fed. Appx. at 945.

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                 Movant now seeks collateral relief on the grounds that (1) trial counsel provided

           ineffective assistance in advising Movant not to testify, and (2) Movant is entitled to

           be re-sentenced because his sentence was based on an invalid prior conviction.

           (Am. Mot. to Vacate at 1, 19, ECF No. 651.)

           II.   28 U.S.C. § 2255 Standard

                 Section 2255 of Title 28 allows a district court to vacate, set aside, or correct a

           federal sentence that was imposed in violation of the Constitution or laws of the United

           States or was imposed by a court without jurisdiction, exceeds the maximum sentence

           authorized by law, or is otherwise subject to collateral attack. 28 U.S.C. § 2255.

           Collateral relief, however, is limited. “Once [a] defendant’s chance to appeal has been

           waived or exhausted, . . . we are entitled to presume he stands fairly and finally

           convicted,” United States v. Frady, 456 U.S. 152, 164 (1982), and it is the movant’s

           burden to establish his right to collateral relief, Rivers v. United States, 777 F.3d 1306,

           1316 (11th Cir. 2015), cert. denied, _ U.S. _, 136 S. Ct. 267 (2015).

                 Matters decided on direct appeal cannot be re-litigated under § 2255, and matters

           that could have been raised on direct appeal, but were not, generally are foreclosed in

           § 2255 proceedings. Hidalgo v. United States, 138 Fed. Appx. 290, 291, 294

           (11th Cir. June 29, 2005) (citing Lynn v. United States, 365 F.3d 1225, 1234

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           (11th Cir. 2004), and United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir. 2000)).

           Thus, § 2255 relief “is reserved for transgressions of constitutional rights and for that

           narrow compass of other injury that could not have been raised in direct appeal and

           would, if condoned, result in a complete miscarriage of justice.”                  Lynn,

           365 F.3d at 1232 (quoting Richards v. United States, 837 F.2d 965, 966

           (11th Cir. 1988)) (internal quotation marks omitted). A constitutional claim of

           ineffective assistance of counsel generally is properly raised on collateral review in

           order to allow for adequate development and presentation of relevant facts. Massaro

           v. United States, 538 U.S. 500, 505-09 (2003).

                  “An evidentiary hearing is not required when ‘the motion and the files and

           records of the case conclusively show that the prisoner is entitled to no relief.’ ”

           Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (quoting § 2255). That

           is the case here, as shown in the discussion below.

           III.   Discussion

                  A.    Ground One

                  On December 2, 1996, prior to committing the crimes involved in this case,

           Movant was convicted in DeKalb County, Georgia, for two drug crimes and for

           carrying a concealed weapon, DeKalb County case number 96CR4178 (hereinafter

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           “1996 conviction” or “1996 drug conviction” when referring to drug crimes).

           (Presentence Investigation Report (“PSR”) at 13, ECF No. 556.) On July 1, 2001,1

           Movant was convicted in DeKalb County for possession of a firearm by a convicted

           felon, DeKalb County case number 00CR5279 (Movant received a two-year term of

           confinement and was paroled on December 26, 2001). (Id. at 14.)

                 The government gave notice of its intent to use the 1996 conviction at Movant’s

           federal trial, under Fed. R. Evid. 404(b),2 and Movant moved to exclude that evidence.

           (See Mot. in Limine at 4, ECF No. 355.) The government argued that the conviction

           was relevant to Movant’s state of mind and intent and that it was not too remote. (Trial



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                        Movant and Respondent both incorrectly refer to the conviction as a 2000
           conviction. (Am. Mot. to Vacate at 6, 9; Resp’t Resp. at 22 nn.10-11, ECF No. 655.)
           The Court will use the designation “2000*” in discussing Movant’s argument on this
           conviction.
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                          Both parties agree that the government did not provide written notice of
           its intent to use the 2000*/2001 felon-in-possession conviction at trial. (See Am. Mot.
           to Vacate at 9; Resp’t Resp. at 22 nn.10-11.)

                  Under Rule 404(b), evidence of a defendant’s prior crime “is not admissible to
           prove a person’s character in order to show that on a particular occasion the person
           acted in accordance with the character. . . . [but] may be admissible for another purpose,
           such as proving motive, opportunity, intent, preparation, plan, knowledge, identity,
           absence of mistake, or lack of accident.” Evidence that may be relevant under
           Rule 404(b) may be excluded “if its probative value is substantially outweighed by a
           danger of . . . unfair prejudice . . . .” Fed. R. Evid. 403.

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           Tr. Vol. VI at 713, ECF No. 522.) Movant argued that it was too remote and that it was

           too prejudicial. (Id. at 714.) The Court found that “the probative value outweigh[ed]

           the prejudicial impact”3 but that the time between Movant’s 1996 arrest and the alleged

           2008 beginning of the federal conspiracy was too remote and – based on Movant’s age

           in 1996 and remoteness – granted the motion in limine for purposes of using the

           conviction as evidence in the government’s case. (Trial Tr. Vol. VI at 715.)

                 At trial, the Court’s questioning of Movant, Mr. Lisbon, on his right to testify

           included the following:

                 THE COURT: Mr. Lisbon, you understand you have the right to testify
                 in this case?

                 DEFENDANT LISBON: Yes.

                 3
                        In his reply, Movant states that the Court “apparently inverted ‘prejudice’
           and ‘probative’” because its finding of “too remote” precludes any other reading.
           (Mov’t Reply at 3-4, ECF No. 661.) There is nothing inconsistent in finding that, but
           for remoteness, a conviction is more probative than prejudicial. This is particularly so
           when a court is determining whether a prior conviction can be used as evidence
           showing intent. See United States v. Fields, 871 F.2d 188, 198 (1st Cir. 1989) (stating
           that remoteness weakens the probative value, especially in regard to intent); see also
           United States v. Matthews, 431 F.3d 1296, 1311 (11th Cir. 2005) (recognizing that
           although the temporal remoteness of a prior conviction is “an important factor to be
           considered as it depreciates the probity of the extrinsic offense,” the court has refrained
           from adopting a bright-line rule “because decisions as to impermissible remoteness are
           so fact-specific that a generally applicable litmus test would be of dubious value”)
           (internal quotation marks omitted). There is no reason to question the District Court’s
           choice of words.

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               THE COURT: You understand you have the right not to testify?

               DEFENDANT LISBON: Yes.

               THE COURT: You and your attorney have made the decision that you’re
               not going to testify in the case?

               DEFENDANT LISBON: Yes.

               THE COURT: You understand that if you testify you would be subject
               to cross-examination by the U.S. Attorney’s Office?

               DEFENDANT LISBON: Yes.

               THE COURT: You understand they would be able to question you about
               your prior felony drug conviction?

               DEFENDANT LISBON: Yes.

               THE COURT: You understand that if anything additionally came out that
               was incriminating that that might make it more likely that the jury would
               convict you?

               DEFENDANT LISBON: Yes.

               THE COURT: Do you understand that if the jury believed you it might
               make it more likely that they would find you not guilty?

               DEFENDANT LISBON: Yes.

               THE COURT: So you understand there are risks and benefits either to
               testify or not testify?

               DEFENDANT LISBON: Yes.



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                 THE COURT: And you have made the decision not to testify?

                 DEFENDANT LISBON: Yes.

                 THE COURT: Has anybody threatened or forced you to give up your
                 right to testify?

                 DEFENDANT LISBON: No.

                 THE COURT: Has anybody made any promise to you that caused you to
                 give up your right to testify?

                 DEFENDANT LISBON: No.

                 THE COURT: Are you giving up your right to testify freely and
                 voluntarily?

                 DEFENDANT LISBON: Yes.

                 THE COURT: Mr. Gillen, are you confident that the Defendant has made
                 a knowing and intelligent waiver of his right to testify in the case?

                 MR. GILLEN: Yes, Your Honor, I am.

           (Id. at 836-88.) Movant did not testify.

                 Movant contends that his waiver of his right to testify was unknowing and

           unintelligent because counsel provided incorrect advice that his prior felony record –

           1996 and 2000* convictions – could be used to impeach him, and counsel should have

           requested a hearing on the matter before giving that advice. (Am. Mot. to Vacate at 2,

           5, 9, 17-18.) Movant states that although prior felony convictions are generally

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           admissible for impeachment, the 1996 conviction and 2000* conviction “for being a

           felon in possession of a firearm for which he served two years in prison” are more than

           ten years old and fail Rule 609(b)’s admissibility requirements.4 (Id. at 5-9.) Movant

           contends that, if counsel had advised him that his prior convictions were inadmissible,

           he would have testified and provided testimony critical to rebut Jose Trinidad Ayala-

           Baez’s (Trino’s) testimony,5 upon which the case against Movant “rose or fell.”

           (Id. at 2, 14, 16-17.)

                  The government argues that (1) Movant cannot show counsel’s deficiency when

           the Court “stated directly to [Movant] that the prior [felony drug] conviction could be

           used” and (2) the 1996 conviction was admissible under Rule 609(b) requirements.

           (Resp’t Resp. at 20-21.) The government further argues that Movant’s attempt to show

           prejudice fails because the case against Movant did not depend on only Trino and, even

           if Movant had testified contrary to Trino, there was other significant evidence against


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                        In presenting his argument on the 2000*/2001 conviction, Movant relies
           on Fed. R. Evid. 609(b), states that otherwise prior felony convictions are generally
           admissible for impeachment, and does not address 609(a). (Am. Mot. to Vacate at 9-
           10.)
                  5
                         Movant states, “Because Trino was the linchpin of the Government’s case
           against [Movant], it was critical to impeach him. And the way to do that would have
           been to allow [Movant] to take the stand and rebut Trino’s testimony.” (Am. Mot. to
           Vacate at 2.)

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           Movant. (Id. at 28-35.) In reply, Movant additionally argues that counsel was

           ineffective for failing to object to the Court’s finding that he could be questioned on his

           1996 drug conviction if he testified. (Mov’t Reply at 2.)6

                 A criminal defendant has a constitutional right, personal to the defendant, to

           testify in his own behalf at trial. United States v. Teague, 953 F.2d 1525, 1532

           (11th Cir. 1992). Counsel should advise against giving testimony if counsel believes

           that it would be unwise, and the “defendant can then make the choice of whether to take

           the stand with the advice of competent counsel.” Id. at 1533. “Because it is primarily

           the responsibility of defense counsel to advise the defendant of his right to testify and

           thereby to ensure that the right is protected, . . . the appropriate vehicle for claims that

           the defendant’s right to testify was violated by defense counsel is a claim of ineffective

           assistance of counsel . . . .” Id. at 1534. “Where the defendant claims a violation of his

           right to testify by defense counsel, the essence of the claim is that the action or inaction

           of the attorney deprived the defendant of [a knowing and voluntary] ability to choose

           whether or not to testify in his own behalf.” Id.




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                     Otherwise, the reply does not present an issue that changes the
           recommendation.

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                 A criminal defendant possesses a Sixth Amendment right to “reasonably

           effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984). To

           show constitutionally ineffective assistance of counsel, a petitioner must establish that

           (1) counsel’s representation was deficient and (2) counsel’s deficient representation

           prejudiced him. Id. at 690-92. The Court may resolve an ineffective assistance claim

           based on either of the above prongs.            Pooler v. Sec’y, Fla. Dep’t of Corr.,

           702 F.3d 1252, 1269 (11th Cir. 2012).

                 The court must be “highly deferential” and must “indulge a strong presumption

           that counsel’s conduct falls within the wide range of reasonable professional assistance;

           that is, the defendant must overcome the presumption that, under the circumstances, the

           challenged action ‘might be considered sound trial strategy.’ ”              Strickland,

           466 U.S. at 689 (internal citation omitted). Whether a strategy might have been

           reasonable is an objective inquiry; we ask “whether some reasonable lawyer could have

           acted that way.” Chandler v. United States, 218 F.3d 1305, 1327 n.41 (11th Cir. 2000).

           The petitioner must show that “no competent counsel would have taken the action that

           his counsel did take.”       United States v. Freixas, 332 F.3d 1314, 1319-20

           (11th Cir. 2003) (citation and internal quotation marks omitted). Further, “law is no

           exact science, [and] the rule that an attorney is not liable for an error of judgment on

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           an unsettled proposition of law is universally recognized.” Guyton v. United States,

           447 Fed. Appx. 136, 139 (11th Cir. Nov. 22, 2011) (quoting Smith v. Singletary,

           170 F.3d 1051, 1054 (11th Cir. 1999)) (internal quotation marks omitted); Spaziano v.

           Singletary, 36 F.3d 1028, 1039 (11th Cir. 1994) (“We have held many times that

           ‘[r]easonably effective representation cannot and does not include a requirement to

           make arguments based on predictions of how the law may develop.’ ” (citation

           omitted)).

                  “In Teague, we specifically delineated the duties of a trial counsel with respect

           to a defendant’s right to testify. Counsel must advise the defendant (1) of his right to

           testify or not testify; (2) of the strategic implications of each choice; and (3) that it is

           ultimately for the defendant himself to decide whether to testify.”7 McGriff v. Dep’t of

           Corr., 338 F.3d 1231, 1237 (11th Cir. 2003). Here, Movant complains regarding

           counsel’s erroneous advice on the strategic implications of his choice – particularly

           advising Movant (without seeking a hearing or objecting to the Court’s finding on the

           matter) that his prior convictions could be used to impeach him.




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                        Movant does not argue that his waiver was invalid because counsel failed
           to advise him that it was his right to testify or that it was ultimately Movant’s choice.

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                 Under Fed. R. Evid. 609(a), evidence of a criminal conviction punishable by

           more than one year in confinement “must be admitted in a criminal case in which the

           witness is a defendant, if the probative value of the evidence outweighs its prejudicial

           effect to that defendant . . . .” Fed. R. Evid. 609(a)(1)(B). Under Fed. R. Evid. 609(b),

           if more than ten years have passed since a defendant’s prior conviction or “release from

           confinement” for that conviction, “then it is admissible only if its probative value

           substantially outweighs its prejudicial effect, and the proponent gives the adverse party

           written notice of the intent to admit the conviction so that the adverse party has an

           opportunity to contest admission.” United States v. Colon, 480 Fed. Appx. 509, 513

           (11th Cir. Apr. 20. 2012) (citing Rule 609(b)); see also United States v. Young,

           574 Fed. Appx. 896, 898 (11th Cir. Aug. 15, 2014) (stating that convictions over ten

           years old rarely will be admitted and, if admitted, the scope of cross examination on

           those convictions is “narrowly circumscribed” (quoting United States v. Tumblin,

           551 F.2d 1001, 1004 (5th Cir. 1977), and citing United States v. Pritchard,

           973 F.2d 905, 908 (11th Cir. 1992))).

                 The Eleventh Circuit Court of Appeals has not decided whether parole from a set

           term of confinement qualifies as release from confinement under Rule 609(b). Id.




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                 Carlos’s 1998 conviction carried a ten-year suspended sentence that lasted
                 until 2008. A suspended sentence is effectively a form of probation, as
                 the felon is not incarcerated unless he commits another crime or violates
                 a court-imposed condition. . . . At least one circuit has held that a period
                 of probation or parole constitutes “confinement” under Rule 609(b). See
                 United States v. Gaines, 105 Fed. Appx. 682, 695 (6th Cir. [July 7,] 2004),
                 vacated on other grounds by Gaines v. United States, 543 U.S. 1114 . . . .
                 (2005). However, other circuits have reached the opposite result. See
                 United States v. Rogers, 542 F.3d 197, 198 (7th Cir. 2008); United States
                 v. Daniel, 957 F.2d 162, 168 (5th Cir. 1992) (per curiam). We have
                 apparently not taken a position on this question.

           Colon, 480 Fed. Appx. at 513; see Gaines, 105 Fed. Appx. at 695 (“With respect to the

           convictions that were more than ten years old, the district judge correctly ruled that they

           are admissible under Rule 609(b) as long as less than ten years had passed since the

           witness was released from confinement or the period of his parole or probation had

           expired.”).

                 Any challenge to the Court’s finding that Movant could be questioned on the

           1996 drug conviction is foreclosed based on Movant’s failure to raise the issue on

           appeal.   See Br. of Appellant Lisbon at xii, Moreno, 559 Fed. Appx. 940,

           2013 WL 775661; see also Hidalgo, 138 Fed. Appx. at 294 (citing Lynn,

           365 F.3d at 1234)). Further, Movant does not show that – if counsel had requested a

           hearing on the admissibility of the 1996 and 2001 convictions or objected to the Court’s

           finding on the 1996 conviction – there is a reasonable probability that the Court would

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           have found both convictions excludable or that counsel would have altered his advice

           to Movant. See Gilreath v. Head, 234 F.3d 547, 552 n.12 (11th Cir. 2000) (stating that

           if a petitioner complains of counsel’s failure to investigate, he must show that

           “knowledge of the uninvestigated evidence would have altered” counsel’s

           representation (quoting Gray v. Lucas, 677 F.2d 1086, 1093 (5th Cir. 1982))).8 There

           is no controversy that more than ten years passed from the 1996 conviction, that it

           would be subject to Rule 609(b) requirements, and that it met Rule 609(b)’s notice

           requirement. Notably, the District Court was well familiar with the 1996 conviction,

           (see Trial Tr. Vol. VI at 715), when it found that Movant could be questioned on it,

           implicitly finding that, depending on the matter being impeached, its probative value

           could substantially outweigh its prejudicial effect.9 Movant does not show that an




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                         “The determination of whether a defendant has been prejudiced varies of
           course with each breach alleged. When, as in this case, a defendant alleges that his
           counsel’s failure to investigate prevented his counsel from making an informed tactical
           choice, he must show that knowledge of the uninvestigated evidence would have
           altered his counsel’s decision.” Gray, 677 F.2d at 1093.
                 9
                         Such finding does not contradict the Court’s ruling that the
           1996 conviction could not be used under Rule 404(b) as evidence of intent. See Fields,
           871 F.2d at 198 (stating that remoteness weakens the probative value, especially in
           regard to intent).

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           objection would have resulted in a clear ruling to the contrary, i.e., a ruling that the

           1996 conviction would be excluded for impeachment purposes.

                  As observed by the Supreme Court in Luce, the district court in that case had

           found that an earlier conviction “fell within the category of permissible impeachment

           evidence” but noted that “the nature and scope of petitioner’s trial testimony could

           affect the court’s specific evidentiary rulings . . . . [T]he court was prepared to hold that

           the prior conviction would be excluded if petitioner limited his testimony to explaining

           his attempt to flee from the arresting officers. However, if petitioner took the stand and

           denied any prior involvement with drugs, he could then be impeached by the 1974

           conviction.” Luce v. United States, 469 U.S. 38, 40 (1984) (involving impeachment

           evidence under Rule 609(a)).10 A ruling permitting impeachment “is subject to change

           when the case unfolds . . . and the district judge is free, in the exercise of sound judicial

           discretion, to alter a previous in limine ruling.” Id. at 41-42; see also United States v.

           York, 722 F.2d 715, 716 (11th Cir. 1984) (holding whether to make “an advance ruling

           on the admissibility of impeachment evidence is addressed to the sound discretion of


                  10
                        See United States v. Fallon, 348 F.3d 248, 254 (7th Cir. 2003) (“Although
           Luce dealt with prior convictions admitted under Rule 609(a)(1), we find that it applies
           with equal force to convictions admitted under Rule 609(b).”); United States v. Wolfe,
           766 F.2d 1525, 1526 (11th Cir. 1985) (applying Luce to Rule 609(b)).

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           the trial court”). Based on the Court’s finding that Movant could be questioned on his

           1996 conviction and its discretion to adjust its finding as the case unfolded (had

           Movant taken the stand), Movant does not show that had counsel objected there is a

           reasonable probability that the Court would have ruled at that time – before the time for

           Movant to testify – that the 1996 conviction would be excluded for impeachment

           purposes.

                 As to the July 2001 conviction, whether it was admissible under Rule 609(a) or

           subject to 609(b) requirements depends on the trigger date and whether more or less

           than ten years passed. Less than ten years passed between the July 1, 2003 end of the

           imposed two-year term of confinement (on which Movant was paroled in

           December 2001) and the June 2012 commencement of Movant’s trial in federal court.

           More than ten years passed between Movant’s December 26, 2001 parole date and the

           2012 commencement of his federal trial. Given the uncertainty as to whether the 2001

           conviction would be subject to Fed. R. Evid. 609(b) requirements, the undersigned

           cannot find that no reasonable counsel in Mr. Gillen’s position would have advised

           Movant that the 2001 conviction could be used against him.                  See Colon,

           480 Fed. Appx. at 513; Guyton, 447 Fed. Appx. at 139. For the same reason, Movant




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           fails to show that, had counsel requested a hearing, the 2001 conviction would have

           been excluded under Rule 609(b).

                 Based on the above, the undersigned cannot find that Movant has shown

           prejudice, i.e., a reasonable probability, had counsel objected or sought a hearing, that

           counsel would have altered his advice or that Movant would have taken the stand.

                 B.     Re-sentencing

                 The government filed notice that it was seeking increased punishment under

           21 U.S.C. §§ 841(b) and 85111 based on Movant’s 1996 drug conviction. (Information,

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                          “If any person commits such a violation after a prior conviction for a
           felony drug offense has become final, such person shall be sentenced to a term of
           imprisonment which may not be less than 20 years and not more than life imprisonment
           . . . .” 21 U.S.C. § 841(b). Under 21 U.S.C. § 851(a), the government is required to file
           before trial or guilty plea an information regarding prior conviction and increased
           punishment. Further,

                 If the United States attorney files an information under this section, the
                 court shall after conviction but before pronouncement of sentence inquire
                 of the person with respect to whom the information was filed whether he
                 affirms or denies that he has been previously convicted as alleged in the
                 information, and shall inform him that any challenge to a prior conviction
                 which is not made before sentence is imposed may not thereafter be raised
                 to attack the sentence.

           21 U.S.C. § 851(b).

                 No person who stands convicted of an offense under this part may
                 challenge the validity of any prior conviction alleged under this section

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           ECF No. 243; Information, ECF No. 470.) At sentencing, under the requirements in

           § 851(b) (requiring affirmation or denial of prior conviction by defendant), Movant

           affirmed his 1996 drug conviction. (Sentencing Tr. at 7-8, ECF No. 580.) The Court

           imposed the mandatory minimum of 240 months, based on Movant’s prior 1996

           conviction. (Id. at 3-4, 7-8, PSR at 13.)

                 Movant now asserts that he is challenging in state court his 1996 drug conviction

           and that he will be entitled to a reduction of his federal sentence when that conviction

           is vacated. (Am. Mot. to Vacate at 20-21.) Movant seeks a stay of his re-sentencing

           claim. (Id. at 21.) Movant admits that his state petition filed in April 2015 was rejected

           because it was not notarized and states that his state counsel is in the process of

           properly filing a state petition. (Id. at 20 n.3). The government asserts that, even if

           Movant succeeds in his state challenge, federal re-sentencing is foreclosed under

           21 U.S.C. § 851(e). (Resp’t Resp. at 37.) Movant replies that federal law does not

           prohibit him from challenging his DeKalb conviction in state court and that another

           judge in this Court has allowed re-sentencing notwithstanding § 851(e). (Mov’t Reply.)


                 which occurred more than five years before the date of the information
                 alleging such prior conviction.

           21 U.S.C. § 851(e).


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                  This claim must be dismissed because it is not ripe. “[T]he basis for a claim

           challenging a sentence predicated on faulty state convictions arises when the order

           vacating those predicate convictions issues.” Stewart v. United States, 646 F.3d 856,

           859 (11th Cir. 2011) (citing Johnson v. United States, 544 U.S. 295, 305-07 (2005)).

           A stay is not recommended because the Eleventh Circuit Court of Appeals disfavors a

           stay and abeyance procedure – which encourages meritless and unripe petitions based

           on unexhausted claims – and finds the superior approach is for a defendant to raise a

           state-vacatur claim when it first becomes ripe. Id. at 864-65.

           IV.    Certificate of Appealability (COA)

                  Under Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court must

           issue or deny a certificate of appealability when it enters a final order adverse to the

           applicant. . . . If the court issues a certificate, the court must state the specific issue or

           issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” The Court will

           issue a certificate of appealability “only if the applicant has made a substantial showing

           of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). The applicant “must

           demonstrate that reasonable jurists would find the district court’s assessment of the

           constitutional claims debatable or wrong.” Melton v. Sec’y, Fla. Dep’t of Corr.,

           778 F.3d 1234, 1236 (11th Cir. 2015) (quoting Slack v. McDaniel, 529 U.S. 473, 484

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           (2000)) (internal quotation marks omitted), cert. denied, _ U.S. _, 136 S. Ct. 324

           (2015).

                 “When the district court denies a habeas petition on procedural grounds
                 . . . a COA should issue when the prisoner shows, at least, that jurists of
                 reason would find it debatable whether the petition states a valid claim of
                 the denial of a constitutional right and that jurists of reason would find it
                 debatable whether the district court was correct in its procedural ruling.”

           Damren v. Florida, 776 F.3d 816, 820 (11th Cir.                 2015) (quoting Slack,

           529 U.S. at 484).

                 It is recommended that a COA is unwarranted because it is not debatable that

           Movant fails to show that he received ineffective assistance of counsel under Strickland

           and that his sentencing claim is premature. If the Court adopts this recommendation

           and denies a COA, Movant is advised that he “may not appeal the denial but may seek

           a certificate from the court of appeals under Federal Rule of Appellate Procedure 22.”

           Rule 11(a), Rules Governing Section 2255 Proceedings for the United States District

           Courts.

           V.    Conclusion

                 For the reasons stated above,

                 IT IS RECOMMENDED that Movant’s motion, as amended, [Docs. 650, 651],

           to vacate, set aside, or correct his federal sentence be DENIED on Ground One; that

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           Movant’s Ground Two be DISMISSED WITHOUT PREJUDICE as premature; and

           that a COA be DENIED.

                   The Clerk of Court is DIRECTED to withdraw the referral of this § 2255 motion

           to the undersigned Magistrate Judge.

                   IT IS SO RECOMMENDED and DIRECTED, this 25th day of May                     ,

           2016.




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